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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

GONZALO MORALES,                                     )
                                                     )
               Plaintiff,                            )      Case No. 1:18-cv-003210
                                                     )
       vs.                                           )      Honorable Judge
                                                     )      John J. Tharp, Jr.
EXTRA MILE PAINTING COMPANY,                         )
and JAMES FAIRBANKS,                                 )
                                                     )
               Defendants.                           )

DEFENDANTS’ MOTION FOR ENTRY OF JUDGMENT PURSUANT TO FED. R. CIV.
                            PRO. 68
        Defendants, Extra Mile Painting Company (“EMPC”) and James Fairbanks

 (“Fairbanks”), by their attorneys, Gaffney and Gaffney, P.C., for their Motion for Entry of

 Judgment pursuant to Fed. R. Civ. Pro. 68, state:

       1.      On September 13, 2018, Defendants served Plaintiff with a Fed. R. Civ. Pro. 68

Offer of Judgment. A copy of Defendants’ Offer of Judgment is attached as Exhibit A.

       2.      On September 27, 2018, Plaintiff accepted Defendants’ Fed. R. Civ. Pro. 68 Offer

of Judgment. A copy of Plaintiff’s acceptance is attached as Exhibit B.

       3.      Upon entry of Judgment, Defendants will tender a cashier’s check to Plaintiff in the

amount of $3,000.00 satisfying the Judgment in open Court or otherwise as the Court directs.

       4.      Upon entry of Judgment, Plaintiff’s claim for fees and costs can be adjudicated by

this Court pursuant to NDIL LR 54.3 or otherwise as the Court deems just.

       WHEREFORE, Defendants request that this Court enforce Plaintiff’s acceptance of

Defendants’ Fed. R. Civ. Pro. 68 Offer of Judgment attached as Exhit A., enter Judgment in favor

of Plaintiff and against Defendants’ in the amount of $3,000 plus costs, Enter an Order in
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satisfaction of said judgment, and enter an Order pursuant to NDIL LR 54.3 for this Court’s

adjudication of Plaintiff’s claim for attorney’s fees and costs.




                                                              /s/ Glenn R. Gaffney_________
                                                              Glenn R. Gaffney
                                                              Attorney for Defendants

   Glenn R. Gaffney (No. 6180598)
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                       NOTICE OF FILING / CERTIFICATE OF SERVICE
      Glenn R. Gaffney certifies that on October 4, 2018 he efiled the above and foregoing

Motion for Entry of Judgment pursuant to Fed. R. Civ. Pro. 68 via the case

management/electronic case filing system with the Clerk of the U.S. District Court, Northern

District of Illinois. The parties may access this filing through the Court’s electronic filing system

and notice of this filing will be sent to the following parties by operation of the Court’s

electronic filing system.

                                                              /s/ Glenn R. Gaffney_________
                                                              Glenn R. Gaffney
                                                              Attorney for Defendants


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